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  IT IS ORDERED as set forth below:



   Date: June 22, 2018
                                                    _________________________________

                                                             Jeffery W. Cavender
                                                        U.S. Bankruptcy Court Judge

 ________________________________________________________________




                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

 IN RE:                                         CASE NO. 18-58775-JWC

 PATRICIA RENEE WEST,                           CHAPTER 13

                   Debtor.


                                           ORDER

       THIS MATTER is before the Court on the Debtor’s Motion to Impose the Automatic Stay

(the “Motion”) filed May 29, 2018 (Doc. No. 6). The Motion is set for hearing on June 26, 2018.

Debtor filed for relief under chapter 13 of the Bankruptcy Code on May 25, 2018. The Motion

having been read and considered,

       IT IS ORDERED that the Motion be and is hereby GRANTED on an interim basis. The
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automatic stay provided by section 362(a) of the Bankruptcy Code, which, absent this Order would

terminate pursuant to section 362(c)(3) before the hearing on June 26, 2018, shall remain in effect

until the hearing currently scheduled to be held on the Motion.

       The Clerk of Court is directed to serve a copy of this Order upon Debtor, the Chapter 13

Trustee, and all parties on the mailing matrix.

                                     END OF DOCUMENT
